                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF MISSOURI
                                               (Western Division)
-------------------------------------------------------
ALICE HIGGINS,

                           Plaintiff,

                  -against-                                    NOTICE OF REMOVAL

ALLY FINANCIAL INC.,

                           Defendant.
-------------------------------------------------------

TO THE CLERK OF THE ABOVE-ENTITLED COURT:

         PLEASE TAKE NOTICE THAT DEFENDANT ALLY FINANCIAL INC., (“Ally”)

hereby removes this case from the Circuit Court of Jackson County, Missouri at Kansas City, to

the United States District Court for the Western District of Missouri, pursuant to 28 U.S.C. §§

1331, 1367, 1441, and 1446.

         As set forth below, this case is removed properly to this Court, because Ally has

complied with the statutory requirements for removal under 28 U.S.C. §§ 1331, 1441 and 1446.

                                              I.          Background

         1.       On April 24, 2018, Plaintiff Alice Higgins (“Plaintiff”) filed a Complaint against

Defendant Ally in the Circuit Court of Jackson County, Missouri at Kansas City (the “Action”).

         2.       Plaintiff purports to allege claims against Ally for violations of the Telephone

Consumer Protection Act (“TCPA”), 47 U.S.C. § 227, et seq., and the Missouri Merchandising

Practices Act § 407.010, et seq. RSMo. (“MMPA”).

         3.       Plaintiff alleges that Ally violated the TCPA by placing calls with an automatic

telephone dialing system or an artificial or prerecorded voice to Plaintiff’s cellular phone without

her consent. (Compl. ¶¶ 33, 35.) Plaintiff also alleges these calls without her consent, violated

the MMPA. (Compl. ¶ 51(e).)




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       4.      Based on the alleged claims, Plaintiff seeks: (1) actual damages; (2) statutory

damages; (3) punitive damages; (4) reasonable attorneys’ fees; and (5) equitable relief.

       5.      This Action is removed to federal court pursuant to 28 U.S.C. § 1441 because the

Court has original jurisdiction pursuant to 28 U.S.C. § 1331 and supplemental jurisdiction

pursuant to 28 U.S.C. § 1367.

                      II.       Compliance With Statutory Requirements

       6.      In accordance with 28 U.S.C. § 1446(a), a true and correct copy of the Complaint

is attached hereto as EXHIBIT A.

       7.      Upon information and belief, no other process, pleadings, or orders, excluding the

Complaint, has been served upon Ally in this Action.

       8.      Ally is also concurrently filing a Notice of Filing Notice of Removal in the Action

and is servicing same on all adverse parties.    A true and correct copy of the Notice of Filing

Notice of Removal, without attachments, is attached hereto as EXHIBIT B.

       9.      Ally received the Complaint on April 30, 2018. Ally’s removal is timely, because

it is within thirty (30) days of service of the Complaint, as required by 28 U.S.C. § 1446(b).

       10.     Plaintiff filed this Action in the Circuit Court of Jackson County, Missouri at

Kansas City, which is located within the Western District of Missouri. Therefore, this Action

may be removed to this Court, because it is the “district and division embracing the place where

[the Action is] pending.” See 28 U.S.C. § 1441(a).

       11.     In accordance with 28 U.S.C. § 1446(d), a copy of Ally’s Notice of Filing Notice

of Removal is being filed contemporaneously with the Circuit Court of Jackson County,

Missouri at Kansas City.




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        12.     In accordance with 28 U.S.C. § 1446(d), Ally is also contemporaneously serving

this Notice of Removal on all adverse parties.

                                         III.     Jurisdiction

        13.     This Court has subject matter jurisdiction over this Action pursuant to 28 U.S.C.

§§ 1331, 1367, and 1441(a).

        14.     28 U.S.C. § 1331 grants federal question jurisdiction to federal courts—stating

“[federal] district courts shall have original jurisdiction of all civil action arising under the

Constitution, laws, or treaties of the United States.”

        15.     Federal question jurisdiction exists over this action because the TCPA claims

asserted by Plaintiff in the Complaint involve questions that will require resolution of significant,

disputed issues arising under federal law. This case qualifies for federal question jurisdiction and

is removable because Plaintiff alleges claims under, and requires a ruling on, the TCPA.

        16.     28 U.S.C. § 1331 grants supplemental jurisdiction to federal courts—stating “in

any civil action of which the [federal] district courts have original jurisdiction, the district courts

shall have supplemental jurisdiction over all other claims that are so related to claims in the

action within such original jurisdiction that they form part of the same case or controversy under

Article III of the United States Constitution.”

        17.     Supplemental jurisdiction exists over the MMPA claims asserted by Plaintiff in

the Complaint because these claims are related to the TCPA claims in that they arise from the

same common nucleus of operative fact, thus forming part of the same case or controversy under

Article III of the United States Constitution.




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                                     IV.     Reservation of Rights

        18.     Ally denies the allegations contained in Plaintiff’s Complaint and files this Notice

of Removal without waiving any defenses, objections, exceptions, or obligations that may exist

in its favor in either state or federal court.

        19.     Further, in making the allegations in this Notice of Removal, Ally does not

concede in any way that the allegations in the Complaint are accurate, that Plaintiff has asserted

claims upon which relief can be granted, or that recovery of any of the amounts sought is

authorized or appropriate.

        20.     Ally also reserves the right to amend or supplement this Notice of Removal. And,

in this regard, if any questions arise as to the propriety of the removal of this Action, Ally

expressly requests the opportunity to present a brief, oral argument, and any further evidence

necessary in support of its position that this action is removable.

        WHEREFORE, in accordance with the authorities set forth above, Ally hereby removes

this Action from the Circuit Court of Jackson County, Missouri at Kansas City to the United

States District Court for the Western District of Missouri and requests such other and further

relief as the Court deems appropriate and just.

Dated: May 29, 2018                              Respectfully submitted:
                                                 By:    /s/ Nelson L. Mitten
                                                        Nelson L. Mitten

Nelson L. Mitten
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Counsel for Ally Financial Inc.



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                                   CERTIFICATE OF SERVICE

           I certify that on the 30th day of May 2018, I electronically filed the foregoing Notice of

Removal with the Clerk of the Court using the ECF system, which will send notification of such

filing to all ECF participants. Additionally, one copy was sent to Counsel for Plaintiff via U.S.

Mail at the following address:

                                       Counsel for Plaintiff:
                                            Bryce B. Bell
                                          Mark W. Schmitz
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 Executed on May 30, 2018


                                                /s/ Nelson L. Mitten
                                                Nelson L. Mitten




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                        EXHIBIT A




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                                     EXHIBIT B




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